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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

ROUSEMARY VEGA, et al.,                       )
         Plaintiffs,                          )      No. 15 cv 3221
                     v.                       )
CHICAGO BOARD OF EDUCATION, et al,            )      Judge Elaine Bucklo
         Defendants.                          )

                     MOTION FOR ENTRY OF JUDGMENT
                         PURSUANT TO REMAND
                          (not an agreed motion)

      In connection with a recent decision from the United States Court of Appeals,

Defendant Chicago Board of Education requests entry of a judgment to reflect that

appellate ruling. In support of this Motion, the Board states as follows:

      1.     On December 28, 2022, the District Court entered an order granting

(in part) a sanctions motion, ordering that “Plaintiffs’ counsel shall reimburse

Defendants $11,920.95 in attorney fees and costs.” See ECF 315.

      2.     An appeal followed. See ECF 317 (the notice of appeal).

      3.     That appeal has now concluded, and the Court of Appeals affirmed the

December 28th Order in part and vacated it in part. More specifically, the Court of

Appeals issued a judgment that provided (ECF 330):

      “We AFFIRM the district court’s sanctions and fee award against
      Caryn Shaw but VACATE those decisions as to Anne Shaw and Donald
      Villar. The case is REMANDED for further proceedings consistent
      with the opinion. The above is in accordance with the decision of this
      court entered on July 29, 2024. Each side to bear their own costs.”

See also ECF 331 (certified copy of opinion in connection with the Court of Appeals

Judgment).
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      4.     Upon remand, this case was reassigned here. See ECF 328 (mandate)

and ECF 332 (reassignment order).

      5.     The Board requests entry of a revised judgment -- in the amount of

$11,920.95 and against only Caryn Shaw -- to implement the directive from the

Court of Appeals. Upon entry of that revised judgment, the Board would be able to

begin collection proceedings to recover that amount from Caryn Shaw, if collection

proceedings become necessary.

      6.     On October 7th, Counsel for the Board (Thomas Doyle) contacted

Respondents Counsel (Anne Shaw and Caryn Shaw) by email to ask if they agreed

to (or opposed) this Motion, but neither of them responded to that email. On October

8th, Mr. Doyle followed up by telephone, and he left a voicemail to Respondents

Counsel (at their firm’s voicemail system), to ask the same question. No one

responded to that voicemail message. In these circumstances, it seems that

Respondents do not agree to this Motion.

      WHEREFORE, the Board requests entry of a judgment in the amount of

$11,920.95 against Caryn Shaw.




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October 9, 2024                      BOARD OF EDUCATION
                                     OF THE CITY OF CHICAGO

                                     Ruchi Verma, General Counsel

                                     By: /s/ Thomas A. Doyle

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                          CERTIFICATE OF SERVICE

     I, Thomas A. Doyle, certify that, on October 9, 2024, I caused the foregoing
document to be filed and served using the CM/ECF system.



                                  /s/ Thomas A. Doyle
